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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Matt Renck, am over the age of eighteen years, am employed by Pachulski Stang Ziehl

& Jones LLP. I am not a party to the within action; my business address is 1 Sansome St., Suite

3430, San Francisco, CA 94104.

         On October 5, 2023, I caused a true and correct copy of the following documents to be

served via the Court’s ECF system.

         On October 5, 2023, I also caused a true and correct copy of the following documents to

be served via First Class US Mail upon the parties set forth on the service list annexed hereto as

Exhibit A:




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


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   MOTION PURSUANT TO RULE 9019(a) OF THE FEDERAL RULES OF
    BANKRUPTCY PROCEDURE FOR ENTRY OF AN ORDER APPROVING A
    SETTLEMENT AGREEMENT AND RELEASE BETWEEN THE SEMINARY, THE
    COMMITTEE, AND THE DIOCESE [Docket No. 2548]

   DECLARATION OF RICHARD TOLLNER IN SUPPORT OF THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS’ MOTION FOR ENTRY OF AN
    ORDER APPROVING A SETTLEMENT AGREEMENT AND RELEASE BETWEEN
    THE SEMINARY, THE COMMITTEE, AND THE DIOCESE [Docket No. 2549]

   NOTICE OF HEARING ON THE MOTION PURSUANT TO RULE 9019(a) OF THE
    FEDERAL RULES OF BANKRUPTCY PROCEDURE FOR ENTRY OF AN ORDER
    APPROVING A SETTLEMENT AGREEMENT AND RELEASE BETWEEN THE
    SEMINARY, THE COMMITTEE, AND THE DIOCESE [Docket No. 2551]

        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.



Dated: October 5, 2023



                                                      /s/ Matt Renck
                                                      Matt Renck




                                                 2
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                                             EXHIBIT A
Service by U.S. First Class Mail

 Alonso Krangle LLP                 Alston & Bird LLP                   Barclay Damon LLP
 (Counsel To Certain Sexual Abuse   (Counsel To WBSY Licensing          (Counsel To JPMorgan Chase)
 Creditor)                          LLC)                                Attn Janice B Grubin
 Attn: David B. Krangle, Esq.       Attn: James J. Vincequerra;         1270 Ave Of The Americas, Ste
 425 Broad Hollow Rd., Ste. 408     William Hao; Dylan S. Cassidy;      501
 Melville, NY 11747                 Kimberly J. Schiffman               New York, NY 10020
                                    90 Park Avenue
                                    New York, NY 10016
 Betti & Associates                 Burns Bair LLP                      Buttafuoco & Associates PLLC
 Attn Michele M Betti, Esq          (Special Insurance Counsel To The   Attn James S Mccarthy & Ellen
 30 Wall St, 8th Fl                 Official Committee Of Unsecured     Buccholz
 New York, NY 10005                 Creditors)                          144 Woodbury Rd
                                    Attn Timothy W Burns Esq & Jesse    New York, NY 11797
                                    Bair Esq
                                    10 East Doty St., Ste. 600
                                    Madison, Wi 53703
 Carlton Fields PA                  Carlton Fields PA                   Westerman Ball Ederer Miller
 (Counsel To Lexington Insurance    (Counsel To Lexington Insurance     Zucker & Sharfstein LLP
 Company)                           Co)                                 (Counsel To Various Parish
 Attn Robert W Diubaldo Esq, Alex   Attn Luis Orengo, Jr, Esq           Creditors And Seminary)
 B Silverman Esq & Nora Valenza-    Corp Ctr Three At Intl Plaza        Attn John E Westerman, Mickee M
 Frost                              4221 W Boy Scout Blvd, Ste 1000     Hennessy, William C Heuer, Alison
 405 Lexington Ave, 36th Fl         Tampa, Fl 33607-5780                M Ladd
 New York, NY 10174-0002                                                1201 Rxr Plaza
                                                                        Uniondale, NY 11556
 Certain & Zilberg                  Clyde & Co US LLP                   Coughlin Duffy LLP
 Attn Gary Certain                  (Counsel To London Market           (Counsel To Arrowood Indemnity
 488 Madison Ave, 20th Fl           Insurers)                           Company)
 New York, NY 10022                 Attn Catalina Sugayan, Esq &        F/K/A Royal Indemnity Company
                                    James Moffit,T Esq                  Attn Kevin T Coughlin, Esq, Adam
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                                                                        Wall St Plaza; 88 Pine St, 28th Fl
                                                                        New York, NY 10005
 Cullen And Dykman LLP              Dell & Dean PLLC                    Desimone & Associates LLC
 (Counsel To Several Diocesan       Attn Joseph G Dell                  Attn Ralph Desimone
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 Aboulafia, Esq, Michael
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 Duane Morris LLP                   Duane Morris LLP                    Farrell Fritz Pc
 (Counsel To London Market          (Counsel To London Market           (Counsel To The Catholic
 Insurers)                          Insurers)                           Community Foundation Of
 Attn Brett L Messinger             Attn Russell W Roten, Jeff D        Long Island Inc)
 30 S 17th St                       Kahane, Andrew E Mina & Nathan      Attn Martin G Bunin
 Philadelphia, PA 19103-4196        Reinhardt                           622 Third Ave, 37th Fl
                                    865 S Figueroa St, Ste 3100         New York, NY 10017
                                    Los Angeles, CA 90017-5450




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 Farrell Fritz PC                        Farrell Fritz PC                     Weinberg Gross & Pergament LLP
 (Counsel To The Catholic                (Counsel To Dept Of Education        (Counsel To The Estate Of Joseph
 Community Foundation Of Long            Diocese Of Rockville Centre)         Whalen A/K/A Joseph R Whalen
 Island Inc)                             Attn Martin G Bunin                  A/K/A Joseph Robert Whalen)
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 Bloom Hershenhorn Steigman &            (Counsel To Dominican Village        LLP
 Mackauf                                 Inc.)                                Attn Michael Rose & Hillary Nappi
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 650
 Washington, DC 20006
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 Corp As Admin For 21st Century          Corp As Admin For 21st Century       (Counsel To Soniqwave Networks
 Centennial Insur Co)                    Centennial Insurance Co)             LLC)
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                                      Bldg
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                                      New York, NY 10019-3800



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                                                                         & Michael A. Kotula
                                                                         926 RXR Plaza
                                                                         Uniondale, NY 11556-0926
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                                                                         Uniondale, NY 11556-1425
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 Hauppauge, NY 11788
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                                     Stephenie Lannigan Bross, Esq.
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 Barasch McGarry                     (Counsel To Catholic Cemeteries
 (Salzman & Penson)                  Of The Roman Catholic Diocese Of
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 Penson, Elizabeth Cate, Devin       Attn Frank A Oswald Esq & Jared
 Storey, Irwin Zalkin & Dana Cohen   Borriello, Esq
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